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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
Eastern Division

 

 

 

JOI-IN LAWSON, and others §
similarly situated, §
§
Plaintiffs, §
§
v. § No.: 1-04-1177
§ JURY DEMANDED
BATES, LLC, §
an NYX Company, § FLSA COLLECTIVE ACTION
§
§
Defendant. §
AGREED ORDER

 

The parties, through their undersigned counsel, have moved the Court for an Order
establishing additional individuals as opt in Plaintiffs in this FLSA collective action. The parties
have submitted consent forms Which Were apparently delivered to the wrong address and
affidavits of persons Who have affirmed under oath that they timely completed and mailed
consent forms to the appropriate post office box. However, these forms Were not received.
Based upon the foregoing, the following persons shall be deemed opt-in Plaintiffs in this FLSA
collective action: Ms. Phyllis Dixon, Ms. Tina Reynolds, Mr. Williarn (Willie) Waters, Ms.

Kimberly Vaughn, Ms. Pamela Alexander, Mr. l\/Iichael Green, and Ms. Nicole Green.

Q'l/)wb/Q¢M

U.WDistrict Judge James D. Todd
Date: §§ w

IT IS SO ORDERED

 

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Thts document entered on the docket shoot In compliance
with Flule 58 and.'or_?§ {a) FRCP on ‘ -

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AGREED:

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ATTORNEYS FOR DEFENDANT

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Notice of Distribution

This notice confirms a copy of the document docketed as number 578 in
case 1:04-CV-01177 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

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Honorable J ames Todd
US DISTRICT COURT

